TOTAL FOOT CARE

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MARC STRULOWITZ, DPM
Associate, American College of Foot & Ankle Surgery

To Whom It May Concern,

This letter is to confirm that Mrs. Shari Criso is a patient under our medical care. On Friday, July 26, 2024,
Mrs. Criso sustained a foot injury while walking. Following an initial evaluation at an urgent care facility,
x-rays confirmed that she had suffered a fracture. Subsequently, Mrs. Criso sought further treatment at
our office.

Upon examination, we determined that her injury may have been exacerbated or otherwise caused by a
pre-existing medical condition that increases her susceptibility to such injuries. We have advised Mrs.
Criso to refrain from putting any weight on her injured foot for a period of up to six weeks.

We will continue to monitor her recovery closely in the coming weeks. At this time, we are considering
the possibility of surgery, which could further extend her recovery period.

If you require any additional information, please do not hesitate to contact our office.
Sincerely,

Marc StruloWitz

